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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UMOJA ERECTORS, LLC                               :      CIVIL ACTION
             Plaintiff(s),                        :
                                                  :
              v.                                  :
                                                  :
D.A. NOLT, INC., et al.                           :
                   Defendant(s).                  :      NO. 20-5046



                                    NOTICE OF HEARING

       The FINAL PRETRIAL CONFERENCE is scheduled to be held on January 25, 2023,

at 2:00 p.m. in Chambers (Rm. 10613) before the Honorable Gene E.K. Pratter, United States

Courthouse, 601 Market Street, Philadelphia, PA 19106.



                                                  s/Susan Flaherty
                                                  SUSAN FLAHERTY
                                                  Civil Courtroom Deputy to the
                                                  Honorable Gene E.K. Pratter
                                                  United States District Court Judge




Date of Notice: January 5, 2023
Copies sent via ECF notification.
